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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA




                  ORDER SETTING DISCOVERY PROCEDURES

        THIS CAUSE is before the Court following the referral of this action for all

 discovery matters. In order to facilitate the speedy and inexpensive resolution of

 this action, Fed. R. Civ. P. 1, it is hereby

        ORDERED AND ADJUDGED that the following discovery procedures will

 apply in this case as of the date of this Order:

        1.     The Court strictly enforces the guidelines on discovery objections set

 forth below, together with the provisions of the Federal Rules of Civil Procedure

 addressing discovery matters, Rules 26-37, and S.D. Fla. Local Rule 26.1:

                 “Vague, Overly Broad and Unduly Burdensome”

        Parties shall not make conclusory boilerplate objections. Such objections do

 not comply with Local Rule 26.1(G)(3)(a) which provides “Where an objection is

 made to any interrogatory or sub-part thereof or to any document request under

 Fed.R.Civ.P. 34, the objection shall state with specificity all grounds.” Blanket,

 unsupported objections that a discovery request is “vague, overly broad, or unduly

 burdensome” are, by themselves, meaningless, and disregarded by the Court. A

 party objecting on these bases must explain the specific and particular ways in

 which a request is vague, overly broad, or unduly burdensome. See Fed. R. Civ. P.

 33(b)(4); Josephs v. Harris Corp, 677 F.2d 985, 992 (3d Cir. 1982) (“the mere

 statement by a party that the interrogatory was ‘overly broad, burdensome,
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 oppressive and irrelevant’ is not adequate to voice a successful objection to an

 interrogatory.”). Sworn testimony or evidence may be necessary to show that a

 particular request is in fact burdensome.

 “Irrelevant Or Not Reasonably Calculated to Lead to Admissible Evidence”

       As with the previous objection, an objection that a discovery request is

 irrelevant or not reasonably calculated to lead to admissible evidence must include

 a specific explanation describing why the request lacks relevance, and why the

 information sought will not reasonably lead to admissible evidence. Parties are

 reminded that the Federal Rules allow for broad discovery, which does not need to

 be admissible at trial. See Fed. R. Civ. P. 26(b)(1); see Oppenheimer Fund, Inc. v.

 Sanders, 437 U.S. 340, 351-52 (1978).

                       Specificity and Scope of Objections

       Parties should avoid reciting a formulaic objection followed by an answer to

 the request. It has become common practice for a party to object on the basis of any

 of the above reasons, and then state that “notwithstanding the above,” the party

 will respond to the discovery request, subject to or without waiving such objection.

 Such a boilerplate objection and answer preserves nothing, and constitutes only a

 waste of effort and the resources of both the parties and the court. Further, such

 practice leaves the requesting party uncertain as to whether the question has

 actually been fully answered, or only a portion of it has been answered.       Civil

 Discovery Standards, 2004 A.B.A. Sec. Lit. 18. Counsel shall include in the answer

 a clear statement that all responsive documents/information identified have in fact

 been produced/provided, or otherwise describe the category of documents/
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 information that have been withheld on the basis of the objection.

                         Objections Based upon Privilege

       Generalized objections asserting attorney-client privilege or work product

 doctrine also do not comply with local rules. Local Rule 26.1(e)(2)(B) requires that

 objections based upon privilege identify the specific nature of the privilege being

 asserted, as well as identifying such things as the nature and subject matter of the

 communication at issue, the sender and receiver of the communication and their

 relationship to each other, among others.      Parties are instructed to review this

 Local Rule carefully, and refrain from objections in the form of: “Objection. This

 information is protected by attorney/client and/or work product privilege.”

             Objections to Scope of 30(b)(6) Notices for Depositions

       Corporations are not entitled to review of anticipatory relevance objections

 prior to the taking of a corporate representative deposition. Objections to the scope

 of a deposition notice shall be timely served (not filed) in advance of the deposition.

 See King v. Pratt & Whitney, 161 F.R.D. 475 (S.D. Fla. 1995); New World Network

 Ltd. v. M/V Norwegian Sea, 2007 WL 1068124, at *2-3 (S.D. Fla. 2007).

                           Burden to Sustain Objections

       To show that the requested discovery is objectionable, the burden is on the

 objecting party to demonstrate with specificity how the objected-to request is

 unreasonable. Rossbach v. Rundle, 128 F. Supp. 2d 1348, 1354 (S.D. Fla. 2000);

 Dunkin’ Donuts, Inc. v. Mary’s Donuts, Inc., 2001 WL 34079319 (S.D. Fla. 2001);

 Milinazzo v. State Farm Ins. Co., 247 F.R.D. 691, 695 (S.D. Fla. 2007). Failure to

 satisfy this burden will result in entry of an order compelling discovery under Rule
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 37. Failure to show that the objecting party’s position was substantially justified

 will result in entry of monetary sanctions under that Rule. If the burden to sustain

 an objection is satisfied, the requesting party will have to show with specificity how

 the information is relevant and necessary, and proportional to the particular needs

 of the case. Henderson v. Holiday CVS, L.L.C., 269 F.R.D. 682, 686 (S.D. Fla. 2010);

 Lombardi v. NCL (Bahamas) Ltd., 2015 WL 12085849, at *1 (S.D. Fla. 2015) (citing

 2015 Amdt. Rule 26(b)).

       2.     If a bona fide discovery dispute arises notwithstanding these

 guidelines, the parties must first confer in a good faith effort to resolve the dispute

 in compliance with S.D. Fla. L.R. 7.1(a)(3). Counsel must under this Local Rule

 certify that good faith efforts were made. An adequate certificate of conference

 almost always requires at least one, if not more, personal communications between

 counsel.   Note, especially, that un-responded to emails are not enough to satisfy

 counsel’s obligations under this Rule.     The Court will deem an issue waived if

 counsel fails to abide by this obligation or fails to certify compliance with the Rule.

       3.     Discovery disputes must be raised timely as required by S.D. Fla. L.R.

 26.1(g)(1). The Court strictly enforces this Rule, and interprets the thirty-day

 window as the opportunity during which good faith resolution efforts must be made

 (subject to the seven-day agreed extension permitted by the rule).       The Court also

 enforces Rule 26.1(d) that requires that all discovery, including resolution of

 discovery disputes, be fully completed prior to the expiration of the discovery cutoff.

 The parties are generally free to engage in agreed-upon discovery after the cutoff
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 date; but by virtue of the Rule no Court intervention or remedy will be available to

 either party after the cutoff date.

       4.     Except as provided below, discovery disputes shall not be raised by

 filing discovery motions under Rule 37. Any discovery motion filed on the docket

 shall be Stricken. 1 In lieu of traditional motion practice, a regular discovery

 calendar shall be held every Friday, from 1:00 p.m. to 4:30 p.m., at the James

 Lawrence King Federal Justice Building, 99 NE 4th Street, Tenth Floor, Courtroom

 5, Miami, Florida 33132. The party seeking to enforce a discovery obligation or

 obtain protection from such an obligation shall utilize the discovery calendar

 process. After conferring with the opposing party to confirm available dates, the

 moving party shall contact the undersigned’s Chambers at (305) 523-5750 and place

 the matter on the next available discovery calendar. The movant must contact

 Chambers no later than noon on the Friday preceding the discovery calendar to

 schedule a time on that week’s calendar. Ordinarily, no more than fifteen (15)

 minutes of argument per side is permitted.

       5.     On the same day that the Court confirms an available time on the

 discovery calendar, the movant shall provide notice to all relevant parties by filing a

 Notice of Hearing (and calendaring a “Discovery Hearing” on the ECF system when




       1       This restriction does not apply to motions to stay discovery altogether
 (which are often premised on pending dispositive motions that are believed to moot
 the necessity of any and all forms of discovery). Such motions for a blanket stay are
 not deemed “discovery motions” for purposes of this Standing Order and may be
 filed on the docket for the District Judge’s consideration.
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 prompted).   The Notice of Hearing shall specify the substance of the discovery

 matter to be heard and the status of the parties’ pre-filing efforts as to that

 issue/request. The movant shall also include in this Notice of Hearing a certificate

 of good faith that complies with Local Rule 7.1(a)(3).

       6.     The parties shall provide the undersigned a copy of all source

 materials relevant to the discovery dispute, via hand-delivery or through a scanned

 PDF document that is emailed to the CM/ECF mailbox (torres@flsd.uscourts.gov),

 no later than noon on the Monday preceding the discovery calendar. (For example,

 if the dispute concerns interrogatories, the interrogatories at issue and the response

 thereto, shall be provided to the undersigned’s Chambers.) With respect to issues

 involving privilege disputes, the party with the burden of persuasion on a privilege

 claim has the obligation to present to the Court, no later than the time of the

 hearing, sworn evidence if necessary to satisfy that burden. The failure to present

 that sworn evidence by the scheduled hearing may be deemed by the Court a waiver

 of the privilege absent a showing of good cause.

       7.     Exceptions for motions for protective order for deposition notices. If a

 motion for protective order is required for a particular dispute under Rule 26(c),

 Rule 30(d)(3), or Local Rule 26.1.(g)(3), it must be served (not filed) on the opposing

 party as soon as possible and should not be submitted on the eve of the event. The

 failure to timely preserve an objection for that purpose may be deemed a waiver.

 But if a deposition scheduling dispute arises prior to a deposition, the service of the

 motion followed by a good faith conference to resolve the dispute will be sufficient to

 preserve the issues involved without fear of waiver prior to the Court resolving the
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 dispute at a discovery conference. See also S.D. Fla. L.R. 26.1(h). If the parties do

 not thereafter reach agreement to resolve the dispute, the moving party shall

 schedule the matter at the next available discovery calendar. Rule 37, however,

 continues to apply to such objections; thus if the Court finds that the objections

 were not substantially justified the failure to comply with a timely served Rule 30

 deposition notice may be sanctioned appropriately.

       8.     To reiterate, the Court expects all parties to engage in reasonable

 compromise to facilitate the resolution of their discovery disputes. The Court may

 impose sanctions, monetary or otherwise, if the Court determines discovery is being

 improperly sought or is being withheld in bad faith or without substantial

 justification. See Fed. R. Civ. P. 37.

       DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of

 September 2018.



                                               /s/ Edwin G. Torres
                                              EDWIN G. TORRES
                                              United States Magistrate Judge
